
	OSCN Found Document:HALL v. THE GEO GROUP, INC

	
				
            
    OSCN navigation


    
        Home

        
        Courts

        
        Court Dockets

        
        Legal Research

        
        Calendar

        
        Help
    





				
					
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
			

        
            
				
				HALL v. THE GEO GROUP, INC2014 OK 22324 P.3d 399Case Number: 112222Decided: 04/01/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 22, 324 P.3d 399

WALTER HALL, Plaintiff/Appellant,v.THE GEO GROUP, INC, 
Defendant/Appellee.

APPEAL FROM THE DISTRICT COURT OF OKLAHOMA COUNTY
Honorable Bill Graves, Trial Judge

¶0 Walter Hall was allegedly injured while being transported to a medical 
appointment by a private prison facility, GEO. Two years and two months later, 
he filed a lawsuit against it for negligence. GEO filed a motion for summary 
judgment, arguing that the statute of limitations had expired and the lawsuit 
was untimely. Hall insisted that the limitation period was tolled due to his 
injury. The trial court granted GEO's motion for summary judgment and Hall 
appealed. We hold that pursuant to 57 Ohio St. 2011 §566.4, compliance 
with the notice provisions of the Governmental Tort Claims Act (GTCA) is 
required to bring a tort action against a private correctional facility. The 
notice required by the GTCA is a mandatory prerequisite to filing a claim for 
tort damages and it is a jurisdictional requirement. Because Hall did not comply 
with the GTCA and the notice of claim requirement of the GTCA is only tolled 90 
days due to incapacity from an injury, the cause must be dismissed as untimely 
filed.

TRIAL COURT AFFIRMED.CAUSE 
DISMISSED.

Rex Travis, Paul Kouri, Oklahoma City, Oklahoma, for Appellant.Don G. 
Pope, Norman, Oklahoma, for Appellee.


KAUGER, J: 
¶1 The dispositive issue presented is whether the plaintiff's negligence 
action should be dismissed as untimely brought. We hold that, pursuant to 57 Ohio St. 2011 §566.4, compliance 
with the notice provisions of the Governmental Tort Claims Act (GTCA) is 
required for a prisoner, or former prisoner, to bring a tort action against a 
private correctional facility.1 The notice required by the GTCA is a mandatory 
prerequisite jurisdictional requirement2 to filing a claim for tort damages. 3 Because Hall did not comply 
with the notice requirements and the notice of claim requirement of the GTCA is 
only tolled for 90 days due to incapacity from an injury, the cause must be 
dismissed as untimely filed.4
FACTS
¶2 The Oklahoma Department of Corrections (DOC) admitted the 
plaintiff/appellant, Walter Hall (Hall) as an inmate in April of 2010, after his 
convictions for failing to comply with the sex offender registry and falsely 
impersonating another person. While in DOC custody, Hall suffered a head injury 
from a fall at a hospital while he was being examined for alleged chest pains. 
As a result of the fall, Hall suffered a subdural hematoma which required 
surgery. He received a metal plate surgically implanted over his brain. After 
the surgery, he contracted a staphylococcus infection, the metal plate was 
removed, and he was confined to a wheelchair.
¶3 On April 28, 2010, DOC transferred Hall to a private correctional facility 
owned and operated by the defendant/appellee, GEO in Lawton, Oklahoma. On 
September 7, 2010, GEO transported Hall in a van to Oklahoma City for medical 
treatment. His feet and hands were shackled, but his wheelchair was not 
restrained or secured to the van. When the driver moved the van abruptly, the 
wheelchair toppled over. Hall allegedly injured his shoulder and chest, and he 
contends that he lost consciousness and re-injured the hematoma.
¶4 GEO diverted the van to the local emergency room at Southwestern Medical 
Center Hospital in Lawton, Oklahoma, where Hall was examined, treated for a 
headache, and returned to the prison. The emergency room exam found no signs of 
visible injury or distress.5 After he returned to the prison, Hall complained of 
being unable to sleep and having very bad headaches. At some point later, Hall 
alleges that he had surgery on his shoulder and that the injury to his chest was 
not timely addressed and now his chest is deformed. Hall was transferred to the 
minimum security facility, John H. Lilley Correctional Center in Boley, 
Oklahoma, on February 17, 2011, and released from confinement in September of 
2011.
¶5 On June 18, 2012, Hall filed a lawsuit in the district court of Oklahoma 
County, alleging that the employees of GEO were negligent when they did not 
strap his wheelchair in the van to prevent it from toppling over and injuring 
him. GEO filed a motion to dismiss on July 10, 2012, arguing that: 1) pursuant 
to 12 Ohio St. 2011 §95(11),6 an inmate is 
required to bring a claim for injury within one year from the date the injury 
occurred; and 2) because the incident occurred on September 7, 2010, Hall's 
opportunity to bring his lawsuit expired on September 7, 2011, nearly a year 
before he actually filed the lawsuit.
¶6 Hall responds that: 1) he was under a legal disability until sometime 
after he was released from confinement in 2011, which prevented the running of 
the statute of limitations pursuant to 12 Ohio St. 2011 §96;7 and 2) even if he were not 
under such a disability, the one-year statute of limitations for inmates is an 
unconstitutional special law8 and which violates the equal protection clauses of 
both the state and federal Constitutions.9
¶7 Neither party noted the application of 57 Ohio St. 2011 §566.4. It requires 
compliance with the notice provisions of the Governmental Tort Claims Act (GTCA) 
when a prisoner or former prisoner brings a tort action against a private 
correctional facility.10 On December 3, 2012, the trial court overruled 
GEO's motion to dismiss.11 On May 3, 2103, GEO filed a motion for summary 
judgment, arguing that the action was untimely and that administrative remedies 
were not properly exhausted.
¶8 Hall responded that: 1) the administrative remedies provided to inmates 
were nothing more than an "offender grievance process" intended to provide 
answers to inmate questions, not to provide compensation for medical bills and 
pain and suffering; and 2) he was under a legal disability which tolled the 
statute of limitations. Hall also, again, argued that, in the event the statute 
of limitation period was not tolled, the one year limitation period applicable 
only to inmates was an unconstitutional special law and it violates equal 
protection.
¶9 On September 6, 2013, the trial court granted GEO's motion for summary 
judgment and entered judgment in favor of GEO. Hall appealed to this Court on 
October 3, 2013. We retained the cause on November 13, 2013. On January 23, 
2014, we ordered both parties to brief simultaneously the applicability of 57 
Ohio St. 2011 §566.4B(2) 12 and the briefing was completed on February 7, 
2014.
¶10 PURSUANT TO THE GTCA, 57 Ohio St. 2011 §566.4, THE NOTICE 
PROVISIONS OF THE GTCA APPLY TO TORT ACTIONS BROUGHT BY PRISONERS AND FORMER 
PRISONERS AGAINST PRIVATE CORRECTIONAL FACILITIES. NOTICE IS A MANDATORY 
PREREQUISITE TO FILING A CLAIM FOR TORT DAMAGES AND THERE HAS BEEN NO COMPLIANCE 
WITH THE GTCA. BECAUSE NOTICE OF A CLAIM IS ONLY TOLLED 90 DAYS DUE TO 
INCAPACITY FROM INJURY, THE CAUSE MUST BE DISMISSED AS UNTIMELY FILED.
¶11 Neither party noted the existence or applicability of 57 Ohio St. 2011 §566.4 which applies 
the notice provisions of the GTCA to lawsuits brought by prisoners or former 
prisoners against private correctional facilities.13 GEO contends that it is dispositive 
of this cause, but Hall argues that because GEO did not raise the statute's 
applicability and the trial court did not apply it, the statute should not be 
applicable to this appeal.
¶12 Not only do we take judicial notice of the statute,14 but jurisdictional 
inquires may be made by the courts at any stage of the proceedings.15 This Court 
is duty bound to inquire into its own jurisdiction and the jurisdiction of the 
court below from which the case came by appeal.16 This duty exists even if it is not 
raised by the parties.17
¶13 Compliance with the statutory notice provisions of the GTCA is a 
jurisdictional requirement to be completed prior to the filing of any 
pleadings.18 The record before us does not show that Hall has 
complied with the notice provisions of the GTCA, nor does he allege that he has 
complied. In addition to the applicability of §566.4, 57 Ohio St. 2011 §566.5 provides that 
complete exhaustion of statutory remedies against private correctional 
facilities is jurisdictional.19 Based on the record provided, and the plain and 
unambiguous requirements of 57 Ohio St. 
2011 §566.420 and §566.5,21 the district court had no 
jurisdiction over the tort claims asserted in Hall's lawsuit and properly 
granted the defendant's motion for summary judgment.
¶14 Because we determine that the GTCA is controlling and the one year 
limitation period of 12 Ohio St. 2011 
§96 is inapplicable to this cause, we need not address Hall's constitutional 
challenges to §96.22 However, Hall also argues that the notice and 
limitation provisions of the GTCA also violate equal protection and are an 
unconstitutional special law.23 This argument is unconvincing because by extending 
the notice provisions of the GTCA to private prisons, the Legislature has 
ensured equal treatment between plaintiffs who are or were confined in state 
owned prisons with those who are or were confined in private prisons as well as 
any other plaintiff who has a tort claim against a governmental entity. 
Furthermore, we have already upheld the GTCA under equal protection and special 
law challenges to the dichotomy it creates between plaintiffs.24
¶15 As for Hall's claims of tolling because he was under a legal disability25 we have 
previously held that where the GTCA includes specific provisions, the general 
statute of limitations does not apply.26 In Cruse v. Board of 
County Commissioners of Atoka County, 1995 OK 143, ¶16, 910 P.2d 998, the Court held that 
only where valid notice had been given and the claim had been timely filed, 
invoking the court's power, could the broad terms of the general savings statute 
12 Ohio St. 1991 §100 apply.27 The notice 
provisions of the GTCA limit tolling due to incapacity from injury to 90 days.28
¶16 The GTCA gave Hall, at most, one year to file his lawsuit. [90 days for 
the prison to deny a claim, 180 days to bring an action after a claim is denied, 
and 90 days tolled for incapacity due to injury]. Even if the general tolling 
provisions of 12 Ohio St. 2011 §9629 applied to 
the GTCA, this action cannot be maintained under these facts because timely 
compliance with the GTCA was crucial to invoking the jurisdiction of the 
district court.
¶17 We need not address the arguments regarding whether exhaustion of GEO's 
grievance procedures30 is applicable to Hall's claim,31 because the action was 
untimely. It was commenced two years and two months after the injury occurred. 
When possible, an appellate court must hand down that judgment, which in its 
opinion, the trial court should have rendered.32 If the trial court reaches the 
correct result but for the wrong reason, its judgment is not subject to 
reversal.33 
Rather, the Court is not bound by the trial court's reasoning and may affirm the 
judgment below on a different legal rationale.34 Accordingly, we affirm the trial 
court's grant of summary judgment, but do so on the basis that the cause must be 
dismissed as untimely filed.
CONCLUSION
¶18 Neither party noted the existence of 57 Ohio St. 2011 §566.4,35 nor did the 
trial court rely on the statute to decide the cause. If the trial court reaches 
the correct result but for the wrong reason, its judgment is not subject to 
reversal.36 
Rather, the Court is not bound by the trial court's reasoning and may affirm the 
judgment below on a different legal rationale.37
¶15 Pursuant to 57 Ohio St. 2011 
§566.4, compliance with the notice provisions of the Governmental Tort 
Claims Act (GTCA) is required to bring a tort action against a private 
correctional facility. The notice required by the GTCA is a mandatory 
prerequisite to filing a claim for tort damages and it is a jurisdictional 
requirement. Nothing in the record indicates compliance with the GTCA, nor has 
the plaintiff alleged that he has complied with the GTCA. Because the notice of 
claim requirement of the GTCA is only tolled 90 days due to incapacity from an 
injury, the cause must be dismissed as untimely filed.

TRIAL COURT AFFIRMED.CAUSE 
DISMISSED.

ALL JUSTICES CONCUR.

FOOTNOTES

1 Title 
57 Ohio St. 2011 §566.4 provides in 
pertinent part:
A. No action may be brought in a court of this state by a prisoner or former 
prisoner for mental or emotional injury allegedly suffered while under arrest, 
being detained, or in custody or incarcerated without a prior showing of actual 
physical injury. . . .
B. . . .2. No tort action or civil claim may be filed against any employee, 
agent, or servant of the state, the Department of Corrections, private 
correctional company, or any county jail or any city jail alleging acts 
related to the duties of the employee, agent or servant, until all of the notice 
provisions of the Governmental Tort Claims Act [FN1] have been fully complied 
with by the claimant. This requirement shall apply to any claim against an 
employee of the state, the Department of Corrections, or any county jail or city 
jail in either their official or individual capacity, and to any claim against a 
private correctional contractor and its employees for actions taken 
pursuant to or in connection with a governmental contract. (Emphasis 
supplied).
[FN1] Title 51, §§151 et seq.
Unless statutes have changed since the date of Hall's accident, references in 
this opinion are to the current versions. Hall's argument that this statute 
only applies to tort actions that arise out of the governmental contracts 
is contrary to the plain language of the statute when read as a whole. See, 
Welch v. Crow, 2009 OK 
20, ¶10, 206 P.3d 
599.

2 
Harmon v. Cradduck, 2012 OK 80, ¶28, 286 P.3d 643 [ Notice is a 
jurisdictional prerequisite to bringing an action under the GTCA. Failure to 
present written notice as required by the GTCA results in a permanent bar of any 
action derivative of the tort claim.]. Title 57 Ohio St. 2011 §566.5 provides that 
complete exhaustion of statutory remedies against private correctional 
facilities is jurisdictional. It provides:
In any legal proceeding filed by an inmate, full and complete exhaustion of 
all administrative and statutory remedies on all potential claims against the 
state, the Department of Corrections, private entities contracting to provide 
correctional services, or an employee of the state or the Department of 
Corrections is a jurisdictional requirement and must be completed prior to the 
filing of any pleadings.

3 Title 
57 Ohio St. 2011 §566.4, see note 1, 
supra. Compliance with the notice provisions of the GTCA is a condition 
precedent to suit. Duncan v. City of Nichols 
Hills, 1996 OK 16, ¶14, 913 P.2d 1303; Gurley v. 
Memorial Hosp. of Guymon, 1989 OK 34, ¶6, 770 P.2d 573.

4 The 
notice provisions of the Governmental Tort Claims Act are provided by 51 Ohio St. 2011 §§156 and 157. Section 
156 sets forth written notice requirements and provides a one year limitation 
period which can be tolled due to incapacity. It provides in pertinent part:
A. Any person having a claim against the state or a political subdivision 
within the scope of Section 151 et seq. of this title shall present a claim to 
the state or political subdivision for any appropriate relief including the 
award of money damages.
B. Except as provided in subsection H of this section, and not withstanding 
any other provision of law, claims against the state or a political subdivision 
are to be presented within one (1) year of the date the loss occurs. A claim 
against the state or a political subdivision shall be forever barred unless 
notice thereof is presented within one (1) year after the loss occurs.
C. A claim against the state shall be in writing and filed with the Office of 
the Risk Management Administrator of the Office of Management and Enterprise 
Services who shall immediately notify the Attorney General and the agency 
concerned and conduct a diligent investigation of the validity of the claim 
within the time specified for approval or denial of claims by Section 157 of 
this title. A claim may be filed by certified mail with return receipt 
requested. A claim which is mailed shall be considered filed upon receipt by the 
Office of the Risk Management Administrator.
D. A claim against a political subdivision shall be in writing and filed with 
the office of the clerk of the governing body.
E. The written notice of claim to the state or a political subdivision shall 
state the date, time, place and circumstances of the claim, the identity of the 
state agency or agencies involved, the amount of compensation or other relief 
demanded, the name, address and telephone number of the claimant, the name, 
address and telephone number of any agent authorized to settle the claim, and 
any and all other information required to meet the reporting requirements of the 
Medicare Secondary Payer Mandatory Reporting Provisions in Section 111 of the 
Medicare, Medicaid and SCHIP Extension Act of 2007 (MMSEA) through the Centers 
for Medicare &amp; Medicaid Services (CMS). Failure to state either the date, 
time, place and circumstances and amount of compensation demanded, or any 
information requested to comply with the reporting claims to CMS under MMSEA 
shall not invalidate the notice unless the claimant declines or refuses to 
furnish such information after demand by the state or political subdivision. 
The time for giving written notice of claim pursuant to the provisions of 
this section does not include the time during which the person injured is unable 
due to incapacitation from the injury to give such notice, not exceeding ninety 
(90) days of incapacity. 
. . . (Emphasis supplied)
Section 157 provides:
A. A person may not initiate a suit against the state or a political 
subdivision unless the claim has been denied in whole or in part. A claim is 
deemed denied if the state or political subdivision fails to approve the claim 
in its entirety within ninety (90) days, unless the state or political 
subdivision has denied the claim or reached a settlement with the claimant 
before the expiration of that period. If the state or a political subdivision 
approves or denies the claim in ninety (90) days or less, the state or political 
subdivision shall give notice within five (5) days of such action to the 
claimant at the address listed in the claim. If the state or political 
subdivision fails to give the notice required by this subsection, the period for 
commencement of an action in subsection B of this section shall not begin until 
the expiration of the ninety-day period for approval. The claimant and the state 
or political subdivision may continue attempts to settle a claim, however, 
settlement negotiations do not extend the date of denial unless agreed to in 
writing by the claimant and the state or political subdivision.
B. No action for any cause arising under this act, Section 151 et seq. of 
this title, shall be maintained unless valid notice has been given and the 
action is commenced within one hundred eighty (180) days after denial of the 
claim as set forth in this section. The claimant and the state or political 
subdivision may agree in writing to extend the time to commence an action for 
the purpose of continuing to attempt settlement of the claim except no such 
extension shall be for longer than two (2) years from the date of the 
loss.

5 The 
Attending Physician Note dated 9/7/2010 is attached to the Defendant's Motion 
for Summary Judgment and it provides in pertinent part:
Physical Examination:General Appearance: Development: well 
developed and appears stated age. Level of Distress: in no distress. Level of 
consciousness: alert and awake.HEENT: Scalp: atraumatic Head: No 
signs of trauma. Nose: No epistaxis. Pharynx: normal.Neck: Trachea: 
midline. Jugular Veins: flat at 45 degrees on stretcher. Bony structures: No 
tenderness to palpation.Respiratory: Chest inspection: No use of 
accessory muscles or intercostal retractions. Breath sounds: normal in all lung 
fields. Adventitious sounds: none.Cardiovascular: Heart rate: normal, 
Heart rhythm: regular. Cardiac murmurs: none. Cartoid arteries: full and equal 
bilaterally. Abdominal aorta: No pulsatile mass or bruit. Popiteal arties: both 
equal to palpation. Dorsallis pedis arteries: present and equally 
bilaterally.Gastrointestinal: Palpation of Abdomen: NO tenderness or 
guarding.Musculoskeletal: Sternochondral junctions: 
nontender.Neurologic: Provocative testing: gait not tested. CN3: 
pupillary light response normal bilaterally. CN5: facial sensations normal 
bilaterally. CN8: Normal hearing for age. CN 9-10: soft palate movements 
elevates normally. CN 12: toungue protrusion in midline. Motor examination: 
moves arms and legs spontaneously. Sensory examination: light touch intact arms 
and legs.Psychiatric: Orientation: oriented to person to place to 
time situation. (Emphasis in original).

6 Title 
12 Ohio St. 2011 §95 provides in 
pertinent part:
. . .11. All actions filed by an inmate or by a person based upon facts that 
occurred while the person was an inmate in the custody of one of the 
following:
a. the State of Oklahoma,
b. a contractor of the State of Oklahoma, or
c. a political subdivision of the State of Oklahoma,
to include, but not be limited to, the revocation of earned credits and 
claims for injury to the rights of another, shall be commenced within one (1) 
year after the cause of action shall have accrued; . . .

7 Title 
12 Ohio St. 2011 §96 provides:
If a person entitled to bring an action other than for the recovery of real 
property, except for a penalty or forfeiture, be, at the time the cause of 
action accrued, under any legal disability, every such person shall be entitled 
to bring such action within one (1) year after such disability shall be removed, 
except that, after the effective date of this section, an action for personal 
injury to a minor under the age of twelve (12) arising from medical malpractice 
must be brought by the minor's parent or guardian within seven (7) years of 
infliction of the injury, provided a minor twelve (12) years of age and older 
must bring such action within one (1) year after attaining majority, but in no 
event less than two (2) years from the date of infliction of the injury, and an 
action for personal injury arising from medical malpractice to a person adjudged 
incompetent must be brought by the incompetent person's guardian within seven 
(7) years of infliction of the injury, provided an incompetent who has been 
adjudged competent must bring such action within one (1) year after the 
adjudication of such competency, but in no event less than two (2) years from 
the date of infliction of the injury.

8 The 
Okla. Const. art. 5, §59 provides:
§ 59. Uniform operation of general laws - Special laws when general law 
applicable.
Laws of a general nature shall have a uniform operation throughout the State, 
and where a general law can be made applicable, no special law shall be 
enacted.
The Okla. Const. art. 5, §46 provides:
The Legislature shall not, except as otherwise provided in this Constitution, 
pass any local or special law . . .

9 The 
Okla. Const. art. 2, §2 provides:
All persons have the inherent right to life, liberty, the pursuit of 
happiness, and the enjoyment of the gains of their own industry.
The Fourteenth Amendment of the United States Constitution provides in 
pertinent part:
Section 1.
All persons born or naturalized in the United States, and subject to the 
jurisdiction thereof, are citizens of the United States and of the state wherein 
they reside. No state shall make or enforce any law which shall abridge the 
privileges or immunities of citizens of the United States; nor shall any state 
deprive any person of life, liberty, or property, without due process of law; 
nor deny to any person within its jurisdiction the equal protection of the laws. 
. . .

10 
Title 57 Ohio St. 2011 §566.4 see 
note 1, supra

11 
Hall had also alleged that his claim survives under a §1983 action and its 2 
year limitation period. In the order overruling GEO's motion to dismiss, the 
trial court also granted Hill 10 days to amend his petition to plead a §1983 
action. However, the record presented on appeal does not reflect that this was 
ever done. Accordingly, any questions regarding a §1983 action are not before 
the Court in this cause.

12 
Title 57 Ohio St. 2011 §566.4 see 
note 1, supra.

13 
Title 57 Ohio St. 2011 §566.4 see 
note 1, supra.

14 
Title 12 Ohio St. 2011 §2201 provides 
in pertinent part;
A. Judicial notice shall be taken by the court of the common law, 
constitutions and public statutes in force in every state, territory and 
jurisdiction of the United States....

15 
Jurisdictional inquiries into judicial cognizance may be considered and examined 
at any stage of the proceedings, either on motion or sua sponte. 
In re Oklahoma Boll Weevil Eradication 
Organization, 1999 OK 1, 
¶7, fn. 22, 976 P.2d 1035; 
Lincoln Bank and Trust Co. v. Okla. 
Tax Com'n, 1992 OK 
22, ¶6, fn. 14, 827 P.2d 
1314, 1318; Fields v. A &amp; B 
Electronics, 1990 OK 7, 
¶4, 788 P.2d 940, 941; Baylis 
v. City of Tulsa, 1989 OK 90, ¶6, 780 P.2d 686, 688; Luster v. 
Bank of Chelsea, 1986 OK 74, ¶13,730 P.2d 506, 508.

16 
Broadway Clinic v. Liberty Mut. Ins. 
Co., 2006 OK 29, ¶25, 139 P.3d 873; Stites v. 
DUIT Const. Co., Inc., 1995 OK 69, ¶ 8, n. 10, 903 P.2d 293, 297; Lincoln 
Bank and Trust Co. v. Okla. Tax 
Comm'n, see note 15, supra; Cate v. Archon Oil 
Co., Inc., 1985 OK 
15, ¶ 10, n. 12, 695 P.2d 
1352, 1356, n. 12; Pointer v. Hill, 1975 OK 73, ¶ 14, 536 P.2d 358, 361.

17 
Broadway Clinic v. Liberty Mut. Ins. Co., see 
note 16, supra; United Airlines v. State Bd. 
of Equalization, 1990 
OK 29, ¶7, 789 P.2d 1305. 
Hall relies on Hathaway v. State ex rel. Medical 
Research &amp; Technical Authority, 2002 OK 53, 49 P.3d 740 and similar federal 
caselaw for the proposition that GEO did not invoke the provisions of the GTCA 
and raise it as an affirmative defense, application of the GTCA is waived. This 
reliance is misplaced. Hathaway addressed the repercussions of filing a 
notice of claim prematurely. Nor is this a case of substantial compliance 
because the notice of claim was not filed at all and the lawsuit was brought 
over 2 years after the incident occurred.

18 
Title 57 Ohio St. 2011 §566.5, see 
note 2, supra.

19 
Title 57 Ohio St. 2011 §566.5, see 
note 2, supra.

20 
Title 57 Ohio St. 2011 §566.4, see 
note 1, supra.

21 
Title 57 Ohio St. 2011 §566.5, see 
note 2, supra.

22 12 Ohio St. 2011 §96, see note 7, 
supra.

23 The 
Okla. Const. art. 5, §59, see note 8, supra; The Okla. Const. art. 5, §46, see 
note 8, supra; The Okla. Const. art. 2, §2 , see note 9, supra; The Fourteenth 
Amendment of the United States Constitution, see note 9, supra.

24 
Anderson v. Eichner, 1994 OK 136, ¶20, 890 P.2d 1329; Wilson v. 
Gipson, 1998 OK 35, ¶14, 753 
P.2d 1349; Childs v. State ex rel. Okla. 
State Univ., 1993 OK 
18, ¶20, 848 P.2d 571, 
cert. denied 114 S. Ct. 92, 510 U.S. 827, 126 L. Ed. 2d 60. It has also 
withstood challenges to the notice provisions as being a special law. 
Jarvis v. City of Stillwater, 1987 OK 5, ¶6, 732 P.2d 470; Black v. 
Ball Janitorial Service, Inc., 1986 OK 75, ¶13, 730 P.2d 510; Reirdon v. 
Wilburton Bd. of Ed., 1980 OK 67, ¶4, 611 P.2d 239.

25 
Title 12 Ohio St. 2011 §96, see note 
7, supra.

26 
Rout v. Crescent Public Works Authority, 1994 OK 85, ¶8, 878 P.2d 1045 [The limitations 
within the GTCA control over general statutory law.]; Shanbour v. 
Hollingsworth, 1996 OK 67, 
¶1, 918 P.2d 73 [General 
provisions of 12 Ohio St. 1991 
§2006(B)(2) relating to excusable neglect are not applicable to GTCA]: 
Johns By and Through Johns v. 
Wynnewood School Bd. of Education, 1982 OK 101, ¶7, 656 P.2d 248 [Provisions of 12 Ohio St. 1981 §96 do not apply to 
extend the time to give notice of a claim on behalf of a minor.]. See also, 
although not precedential, Tyler By and Through 
Tyler v. Board of County Com'rs of 
Kay County, 1996 OK CIV 
APP 31, ¶9, 915 P.2d 951 
said:
In this action, Tyler did not timely file her action in district court. Thus, 
the district court's power was not invoked and the action was still under the 
manta of the Act, not controlled by the general laws of this state, including 12 Ohio St. 1991 § 96 . The trial court 
did not err in declining to apply that section to Tyler's action.
See also, Duncan v. City of Nichols Hills, 
1996 OK 16, ¶30, 913 P.2d 1303 [GTCA did not apply 
where specific provisions of employment discrimination claims were brought under 
anti-discrimination act 25 Ohio St. 1991 
§1101]; United Brick &amp; Tile Co. v. 
Roy, 1960 OK 174, ¶10, 356 P.2d 107 [General statute of 
limitations is not applicable to claims under the Workmen's Compensation 
Act.

27 
Cruse v. Board of County Commissioners 
of Atoka County, 1995 OK 143, ¶18, 910 P.2d 998, [Section 100 permits 
the refiling of a governmental tort claims action only where the court's power 
has been invoked by the original action.]

28 
Title 51 Ohio St. 2011 §156, see 
note 4, supra.

29 
Title 12 Ohio St. 2011 §96, see note 
7, supra.

30 We 
express no opinion on the exhaustion of administrative remedies as applied to 
GEO's grievance procedure. However, we note that, although not precedential, the 
Court of Civil Appeals has recognized exhaustion is required for non-tort 
claims. Burghart v. Corrections Corporation of 
America, 2009 OK CIV APP 
76, ¶14, 224 P.3d 1278; 
Simmons v. Corrections Corporation of 
America, 2006 OK CIV APP 
13, ¶13, 130 P.3d 305.
Title 57 Ohio St. 2011 §566.5 
provides in pertinent part:
In any legal proceeding filed by an inmate, full and complete exhaustion of 
all administrative and statutory remedies on all potential claims against the 
state, the Department of Corrections, private entities contracting to provide 
correctional services, or an employee of the state or the Department of 
Corrections is a jurisdictional requirement and must be completed prior to the 
filing of any pleadings.

31 
Title 57 Ohio St. 2011 §564 provides 
in pertinent part:
An inmate in the custody of the Department of Corrections shall completely 
exhaust all available administrative remedies on all potential claims against 
the state, any governmental entity, the Department of Corrections, a private 
company providing services to the Department of Corrections, or an employee of 
the state, any governmental entity, the Department of Corrections, or a private 
company providing services to the Department of Corrections prior to initiating 
an action in district court. Upon release from custody an inmate shall be barred 
from bringing any action for a claim arising during custody or incarceration in 
which the inmate has failed to exhaust all administrative remedies.

32 
Dixon v. Bhuiyan, 2000 
OK 56, ¶9, 10 P.3d 
888.

33 
Dixon v. Bhuiyan, see note 32, supra; In the 
Matter of the Estate of Bartlett, 1984 OK 9, ¶4, 680 P.2d 369.

34 
Dixon v. Bhuiyan, see note 32, supra; McMinn v. City 
of Oklahoma City, 1997 OK 154, ¶11, 952 P.2d 517.

35 
Title 57 Ohio St. 2011 §566.4, see 
note 1, supra.

36 
Dixon v. Bhuiyan, see note 32, supra; In the Matter 
of the Estate of Bartlett, see note 33, 
supra.

37 
Dixon v. Bhuiyan, see note 32, supra; McMinn v. City 
of Oklahoma City, see note 34, supra.






	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	Oklahoma Court of Civil Appeals Cases&nbsp;CiteNameLevel&nbsp;2006 OK CIV APP 13, 130 P.3d 305, SIMMONS v. CORRECTIONS CORPORATION OF AMERICADiscussed&nbsp;2009 OK CIV APP 76, 224 P.3d 1278, BURGHART v. CORRECTIONS CORPORATION OF AMERICADiscussed&nbsp;1996 OK CIV APP 31, 915 P.2d 951, 67 OBJ        1608, Tyler By and Through Tyler v. Board of County Com'rs, County of KayDiscussedOklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;1986 OK 74, 730 P.2d 506, 57 OBJ        2977, Luster v. Bank of ChelseaDiscussed&nbsp;1986 OK 75, 730 P.2d 510, 57 OBJ        3023, Black v. Ball Janitorial Service, Inc.Discussed&nbsp;1987 OK 5, 732 P.2d 470, 58 OBJ        273, Jarvis v. City of StillwaterDiscussed&nbsp;1988 OK 35, 753 P.2d 1349, 59 OBJ        950, Wilson v. GipsonCited&nbsp;1989 OK 34, 770 P.2d 573, 60 OBJ        626, Gurley v. Memorial Hosp. of GuymonDiscussed&nbsp;1989 OK 90, 780 P.2d 686, 60 OBJ        1516, Baylis v. City of TulsaDiscussed&nbsp;1990 OK 7, 788 P.2d 940, 61 OBJ        251, Fields v. A &amp; B ElectronicsDiscussed&nbsp;1990 OK 29, 789 P.2d 1305, 61 OBJ        854, United Airlines, Inc. v. State Bd. of EqualizationDiscussed&nbsp;1992 OK 22, 827 P.2d 1314, 62 OBJ        3115, Lincoln Bank and Trust Co. v. Oklahoma Tax Com'nDiscussed&nbsp;1993 OK 18, 848 P.2d 571, 64 OBJ        745, Childs v. State ex rel. Oklahoma State UniversityDiscussed&nbsp;1994 OK 85, 878 P.2d 1045, 65 OBJ        2433, Rout v. Crescent Public Works AuthorityDiscussed&nbsp;1994 OK 136, 890 P.2d 1329, 65 OBJ        4037, Anderson v. EichnerDiscussed&nbsp;1960 OK 174, 356 P.2d 107, UNITED BRICK &amp; TILE COMPANY v. ROYDiscussed&nbsp;2002 OK 53, 49 P.3d 740, HATHAWAY v. STATE EX. REL. MEDICAL RESEARCH &amp; TECHNICAL AUTHORITYDiscussed&nbsp;1995 OK 69, 903 P.2d 293, 66 OBJ        2117, Stites v. Duit Const. Co., Inc.Discussed&nbsp;1995 OK 143, 910 P.2d 998, 66 OBJ        4005, Cruse v. Board of County Commissioners of Atoka CountyDiscussed at Length&nbsp;1996 OK 16, 913 P.2d 1303, 67 OBJ        536, Duncan v. City of Nichols HillsDiscussed at Length&nbsp;2006 OK 29, 139 P.3d 873, BROADWAY CLINIC v. LIBERTY MUTUAL INSURANCE CO.Discussed&nbsp;1996 OK 67, 918 P.2d 73, 67 OBJ        1844, Shanbour v. HollingsworthDiscussed&nbsp;2009 OK 20, 206 P.3d 599, WELCH v. CROWDiscussed&nbsp;2012 OK 80, 286 P.3d 643, HARMON v. CRADDUCKDiscussed&nbsp;1975 OK 73, 536 P.2d 358, POINTER v. HILLDiscussed&nbsp;1980 OK 67, 611 P.2d 239, Reirdon v. Wilburton Bd. of Ed.Discussed&nbsp;1997 OK 154, 952 P.2d 517, 69 OBJ        42, McMINN v. CITY OF OKLAHOMA CITYDiscussed&nbsp;1982 OK 101, 656 P.2d 248, Johns By and Through Johns v. Wynnewood School Bd. of Educ.Discussed&nbsp;1999 OK 1, 976 P.2d 1035, 70 OBJ        292, In re Oklahoma Boll Weevil Eradication OrganizationDiscussed&nbsp;2000 OK 56, 10 P.3d 888, 71 OBJ        1890, DIXON v. BHUIYANDiscussed&nbsp;1984 OK 9, 680 P.2d 369, Estate of Bartlett, Matter ofDiscussed&nbsp;1985 OK 15, 695 P.2d 1352, Cate v. Archon Oil Co., Inc.DiscussedTitle 12. Civil Procedure&nbsp;CiteNameLevel&nbsp;12 Ohio St. 95, Limitation of Other ActionsDiscussed&nbsp;12 Ohio St. 96, Person Under Legal Disability - ExceptionsDiscussed at Length&nbsp;12 Ohio St. 100, Limitation of New Action after Reversal or Failure Otherwise than on MeritsCited&nbsp;12 Ohio St. 2006, TimeCited&nbsp;12 Ohio St. 2201, Judicial Notice of LawCitedTitle 25. Definitions and General Provisions&nbsp;CiteNameLevel&nbsp;25 Ohio St. 1101, Purposes - ConstructionCitedTitle 51. Officers&nbsp;CiteNameLevel&nbsp;51 Ohio St. 156, Claims - Petition - Limitation of Actions - Notice - Wrongful DeathDiscussedTitle 57. Prisons and Reformatories&nbsp;CiteNameLevel&nbsp;57 Ohio St. 566.5, Prisoner Cause of Actions - Exhaustion of Administrative and Statutory RemediesDiscussed at Length&nbsp;57 Ohio St. 566.4, Prisoner Cause of Actions - Prohibited Actions - Venue - Special Report - Costs, Charges, FeesDiscussed at Length&nbsp;57 Ohio St. 564, Exhaustion of Administrative RemediesCited


				
					
					
				
             
         
        
            

		